UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES AND THE STATE OF NEW
YORK, ex rd., MARY ANN KINGSLEY,

                             Plaintiffs,

       -V-                                                              14-CV-6079(FPG)

ROCHESTER GENERAL HEALTH SYSTEM
and INDEPENDENT LIVING FOR SENIORS,
INC. d/b/a ELDERONE,

                             Defendants.



              UNITED STATES' NOTICE OF INTERVENTION IN PART
         FOR PURPOSES OF SETTLEMENT AND DECLINATION IN PART


        The United States, the State of New York, Relator, and Defendants have reached a

settlement agreement to resolve this action. In light of this agreement, and for the purpose

of effectuating and formalizing that resolution, pursuant to the False Claims Act, 31 U.S.C.

§§ 3730(b)(2) and (4), the United States respectfully advises the Court of its decision to

intervene in part and decline in part for the purposes of settlement.

       Specifically, the United States and the State of New York intervened in this action

with respect to civil claims predicated upon the following factual allegations (the "Covered

Conduct); The United States and the State contends that ElderONE improperly enrolled non

qualifying individuals into a Program of AU-Inclusive Care for the Elderly ("PACE

Program") and improperly secured payments from Medicare and Medicaid for such home

health services between January 2010 and February 2015.


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        As a result of the foregoing, the United States and the State of New York alleges that

ElderONE knowingly submitted or caused to be submitted false claims for payment to the

Medicaid and Medicare programs.

       The United States and the State of New York declines intervention with respect to all

other claims alleged in this action apart from those based upon the Covered Conduct.

       Under the terms and conditions of the settlement agreement among the parties, the

United States, the State ofNew York and Relator will file a Stipulation ofDismissal following

the settlement payment from the defendants.

       In light of the settlement agreement reached among the parties, the United States and

the State of New York do not presently intend to file a complaint in intervention but reserves

the right to seek leave to file such a complaint in the event that the Defendants do not pay the

full settlement amount consistent with the terms of the settlement agreement.

       The United States respectfully requests all other filings in this matter be unsealed. A

Proposed Order is filed herewith.

                                            Respectfully submitted.

                                            JAMES P. KENNEDY, JR.
February J. O. 2019                         United States Attomey



                                     BY:
                                            Richard A. Re^nick
                                            Assistant United States Attomey
                                            100 State Street
                                            Rochester, New York 14614
                                            (716) 843-5822
